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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


IN RE TEVA SECURITIES LITIGATION                    No. 3:17-cv-558 (SRU)
___________________________________

THIS DOCUMENT RELATES TO:                           No. 3:20-cv-683 (SRU)


                                                    June 29, 2020

                      JOINT STIPULATION TO ACCEPT SERVICE

       Plaintiffs Fir Tree Value Master Fund, LP and FT SOF V Holdings, LLC (“Plaintiffs” or

“Fir Tree”) and Defendants Teva Pharmaceutical Industries Limited, Erez Vigodman, Eyal

Desheh, Sigurdur Olafsson, and Deborah Griffin (“Defendants”) (collectively, the “Parties”)

jointly submit this stipulation to accept service and acknowledge consolidation.

       WHEREAS, on May 15, 2020, Plaintiffs filed the above-captioned action against

Defendants seeking relief for Defendants’ alleged violations of §§ 10(b) and 20(a) of the

Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 thereunder, and §§ 11,

12(a)(2), and 15 of the Securities Act of 1933 (the “Fir Tree Litigation”) (ECF No. 1); and

       WHEREAS, on June 18, 2020, the Court entered an Order consolidating this Action into

Ontario Teachers' Pension Plan Board, et al. v. Teva Pharm. Indus., Ltd., et al., No. 3:17-cv-558

(SRU) (ECF No. 26);

       IT IS HEREBY STIPULATED AND AGREED, that counsel for Defendants has agreed

to accept service of the Complaint and summonses on behalf of Defendants without waiving any

defense that any Defendant may have to the claims in this action, including but not limited to any

motions to dismiss, with the exception of service of the Complaint and summonses.
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                            Respectfully submitted,

                            By: /s/ David A. Slossberg
                            David A. Slossberg (CT13116)
                            HURWITZ, SAGARIN, SLOSSBERG &
                            KNUFF, LLC
                            147 Broad St.
                            Milford, CT 06450
                            Telephone: (203) 877-8000
                            Fax: (203) 878-9800
                            dslossberg@hssklaw.com

                            Counsel for Plaintiffs


                            By: /s/ Jill M. O’Toole
                            Jill M. O’Toole (ct27116)
                            SHIPMAN & GOODWIN LLP
                            One Constitution Plaza
                            Hartford, Connecticut 06103-1919
                            Tel: 860.251.5000
                            Fax: 860.251.5218
                            jotoole@goodwin.com

                            Counsel for Defendants




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 29, 2020, a copy of the foregoing was filed electronically

and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent

by e-mail to all parties by operation of the court’s electronic filing system or by e-mail to anyone

unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may

access this filing through the Court’s CM/ECF system


                                                  /s/ David A. Slossberg
                                                  David A. Slossberg




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